250 F.2d 935
    MAZZELLA BLASTING MAT CO., Inc., Plaintiff-Appellant,v.Salvatore VITIELLO, Jerry Vitiello and Carmine Vitiello, doing business under the name of Vitiello Blasting Mat Company, Defendants-Appellees.
    No. 71.
    Docket 24633.
    United States Court of Appeals Second Circuit.
    Argued November 20, 1957.
    Decided December 16, 1957.
    
      Ernest G. Montague, New York City, for plaintiff-appellant.
      Howard L. Kuttner, New York City (Sugarman, Kuttner &amp; Fuss, New York City, of counsel on the brief), for defendants-appellees.
      Before HINCKS, LUMBARD and WATERMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      The District Court's finding that the plaintiff's product patent No. 2,474,904 is invalid for lack of invention and because of prior public manufacture, sale and use is amply supported by the evidence adduced at the six day trial, and we affirm for the reasons stated in Judge Herlands' opinion reported in 150 F.Supp. 48.
    
    
      2
      We commend the District Judge's immediate attention to the preparation of his opinion and decision which was filed fifteen days after the conclusion of the testimony. With the testimony still fresh in mind, the District Judge has stated his impressions of the credibility of the witnesses who appeared before him. His judgment of the witnesses, given before the passage of time had dimmed the memory of what can never be adequately preserved by a stenographic record, is thus entitled to great weight. In any event, the testimony and the exhibits overwhelmingly support the findings of the District Judge.
    
    
      3
      Affirmed.
    
    